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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION

                            CASE NO. 17-61417-CIV-MARRA

  CARLOS MANUEL GARCIA, a Florida resident;
  ERICK JOSE REQUENA HERRERA, a Florida
  resident;     ANDRES      IGNACIO    GALLEGOS
  GUEVARA, a Florida resident; ERNESTO RANGEL
  AMELII, a Florida resident; DANIELA MAGRO
  GARCIA, a Florida resident; DAVID FRANCISCO
  MAGRO GARCIA, a Florida resident; ANTONIO
  AMATO TUFANO, a Florida resident; NIXON TINEO,
  a Florida resident; RAMON ALBERTO NAVARRO
  CASUSO, a Florida resident; EDRIS JESUS NEGRON
  ROSAL, a Florida resident; JONATHAN JACQUES
  BENLOLO BOTBOL, a Florida resident; PIERGIOGIO
  SERLONI, a Florida resident; JOSE ANTONIO
  PADILLA VILLALBA, a Florida resident; MARIA
  CAROLINA YANES SIERRALTA, a Florida resident;
  PEDRO RAFAEL TINOCO VASQUEZ, a Florida
  resident; VICTOR HERNAN AMIGO ORTEGA, a
  Florida resident; VICTOR ALBERTO AMIGO
  YANES, a Florida resident; ITALIA CAMPAGNA
  OROPEZA, a Florida resident; VIGMA JOSEFINA
  PALACIOS SANTANDRUE, a Florida resident;
  RAFAEL RAMON DOMINGUEZ, a Florida resident;
  JOSE DANIEL VILLARROEL GARAY, a Connecticut
  resident; GLADYS JOSEFINA GUERRA ACEVEDO,
  a foreign resident; KELLY GARCIA COLMENARES,
  a foreign resident; KELLY GARCIA COLMENARES
  and WILLIAN JOSE MONTERO LAZO, as natural
  parents of M.J.M.G., minor, a foreign resident;
  WILLIAM JOSE MONTERO LAZO, a foreign resident;
  CAMILLA FERNANDA DIAZ PETKOFF, a foreign
  resident; YOLAID KASANDRA OROZCO DEL
  CORRAL, a foreign resident; MARIANNA ROJAS
  VELASCO, a foreign resident; MARIA CAROLINA
  ROMERO VILORIA, a foreign resident; MARIA
  CORINA ROMERO VILORIA, a foreign resident;
  MARIA FABIANA ROMERO VILORIA, a foreign
  resident; GRACIELA JOSEFINA SOSA DE VILORIA,
  a foreign resident; BETINA VIRGINIA ZINGG
  VELUTINI a foreign resident; LUIS RAFAEL
  TURMERO FRANCO, a foreign resident; YESENIA
  MICAELA VELASQUEZ GUIA, a foreign resident;
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  LUIS RAFAEL TURMERO FRANCO and YESENIA
  MICAELA VELASQUEZ GUIA as natural parents of
  J.L.T.V., minor, a foreign resident; LUIS RAFAEL
  TURMERO FRANCO and YESENIA MICAELA
  VELASQUEZ GUIA as natural parents of L.A.T.V.,
  minor, a foreign resident; ELIZABETH ANTONIETA
  RAUSSEO DE GARCIA, a foreign resident; ROCIO
  DEL VALLE BELLORIN USECHE, a foreign resident;
  JESSENIA KUNBAZ KILZI, a foreign resident;
  HENRY BUCCI PELUSO, a foreign resident;
  ALFREDO CARABET KARABET, a foreign resident;
  DARWINS JOSE COLINA GUTIERREZ, a foreign
  resident, CARLA ANDREINA LEON BARRAGAN, a
  foreign resident; LOARDO JAVIER MEDINA
  MARTINEZ and MAGDY DEL CARMEN CAMEJO
  DE MEDINA as natural parents of A.M.M.C., minor, a
  foreign resident; LOARDO JAVIER MEDINA
  MARTINEZ and MAGDY DEL CARMEN CAMEJO
  DE MEDINA as natural parents of V.E.M.C., minor, a
  foreign resident; FLOR MARIAMEDINA MARTINEZ,
  a foreign resident; ROXANA DIER MESROP
  SALLOUM, a foreign resident; FLORINES MEDINA
  DE MILANO as natural mother of F.M.M., minor, a
  foreign resident; GUSTAVO JAVIER RAMIREZ
  GALINDO, a foreign resident; ALEJANDRA
  MERCEDES PINEDA ARIAS, a foreign resident;
  MAGDALENA LUISA PEREZ DE BENZRA, a
  foreign resident; MARTHA LUCIA RUEDA MARINO,
  a foreign resident; JAIME GAMERBERG KIZER, a
  foreign resident; SUSANA LEVY DE GAMERBERG, a
  foreign resident; MARTIN ADELSO GOMEZ SILVIO,
  a foreign resident; JONATHAN BENLOLO and
  SHARON SEGAL SHEERO as natural parents of
  L.B.S., minor, a foreign resident; PAOLA IANI
  FERRARI, a foreign resident; JOSE MIGUEL
  GHINAGLIA GOTTO, a foreign resident; JOSE
  MIGUEL GHINAGLIA GOTTO and ANA ROSA
  PESTANA GOMEZ, as natural parents of A.B.G.P.,
  minor, a foreign resident; ANTONIO SCETTRI
  SABELLO, a foreign resident; SHARON SEGAL
  SHEERO, a foreign resident; GIULIO JOSE SPAZIANI
  ESPINOZA, a foreign resident; ANTONIETA
  LAVINIA NAPOLITANO DE HERRERA, a foreign
  resident; ANTONIO CURCIO, a foreign resident;
  DAISY MARIA CARPIO HERNANDEZ, a foreign
  resident; ERIKA ISIS BOLIVAR QUINTERO, a foreign



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  resident; LUIS RAFAEL CAMPAGNA OROPEZA, a
  foreign resident; JONATHAN BENLOLO and
  SHARON SEGAL SHERRO as natural parents of
  M.H.B., minor, a foreign resident; ANTONIO CURCIO
  and ERIKA ISIS BOLIVAR QUINTERO as natural
  parent of A.S.C.B., minor, a foreign resident; KASAN
  MAKLAD SLAHOUB, a foreign resident; RICARDO
  ANTONIO MALDONADO, a foreign resident; JUANA
  MARIA PAEZ-PUMAR DE MALDONADO, a foreign
  resident; ELSA CALDERON DE DOVALES, a foreign
  resident; EVER JOSE DOVALES ROJAS, a foreign
  resident; and      YULIET ROCIO DOVALES
  CALDERON, a foreign resident; ADAM MARCEL
  RODRIGUEZ BECERRA a foreign resident;

           Plaintiffs,

   vs.

   DYNAMIC INTERNATIONAL AIRWAYS, LLC, a
   foreign corporation; and KALITTA AIR, LLC, D/B/A
   KALITTA MAINTENANCE, a foreign corporation,

           Defendants.
                                                            /

         DEFENDANT, DYNAMIC INTERNATIONAL AIRWAYS, LLC'S ANSWER AND
         AFFIRMATIVE DEFENSES TO PLAINTIFFS' FIRST AMENDED COMPLAINT

           Defendant Dynamic International Airways, LLC (hereinafter "Dynamic"), by and through its

  attorneys of record, Clyde & Co US LLP, hereby answers the first amended complaint of all

  plaintiffs cited in the caption (hereinafter "plaintiffs") as follows:

                         AS TO THE ALLEGATIONS IN THE INTRODUCTION

           1.      As to the allegations contained in paragraph 1 of plaintiffs' complaint, Dynamic

  denies said allegations, except that Dynamic admits that a fire began in an area external to the left

  engine of the aircraft performing Dynamic Flight No. 405 while taxiing for departure from Fort

  Lauderdale, Florida, to Caracas, Venezuela, on October 29, 2015, and that the rights and liabilities of

  the parties are governed by either the Convention for the Unification of Certain Rules for



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  International Carriage by Air, done at Montreal on 28 May 1999, ICAO Doc. No. 9740 (entered into

  force November 4, 2003), reprinted in S. Treaty Doc. 106-45 1999 WL 33292734 (hereinafter "the

  Montreal Convention”) or the Convention for the Unification of Certain Rules for International

  Carriage by Air, October 12, 1929, 49 Stat. 3000, T.S. No. 876, 137 L.N.T.S. 11 (1934), reprinted in

  note following 49 U.S.C. § 40105 (1997) (hereinafter "the Warsaw Convention"), as amended by the

  Protocol done at the Hague on September 28, 1955, reprinted in S. Exec. Rep. no. 105-20, pp. 21-32

  (1998).

            2.   The statement contained in paragraph 2 of plaintiffs' complaint is not directed to

  Dynamic and requires no response. To the extent that a response is required, Dynamic is without

  knowledge or information sufficient to form a belief as to the truth of the allegations contained

  therein and, on this basis, denies said allegations.

        AS TO THE ALLEGATIONS CONCERNING JURISDICTION AND VENUE

            3.   As to the allegations contained in paragraph 3 of plaintiffs' complaint, Dynamic is

  without knowledge or information sufficient to form a belief as to the truth of the allegations

  contained therein and, on this basis, denies said allegations.

            4.   As to the allegations contained in paragraph 4 of plaintiffs' complaint, Dynamic

  denies said allegations, except that Dynamic admits that it has a registered agent in the State of

  Florida.

            5.   The statement contained in paragraph 5 of plaintiffs' complaint is not directed to

  Dynamic and requires no response. To the extent that a response is required, Dynamic is without

  knowledge or information sufficient to form a belief as to the truth of the allegations contained

  therein and, on this basis, denies said allegations.




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         6.      As to the allegations contained in paragraph 6 of plaintiffs' complaint, Dynamic

  denies said allegations.

         7.      As to the allegations contained in paragraph 7 of plaintiffs' complaint, Dynamic

  denies said allegations.

         8.      As to the allegations contained in paragraph 8 of plaintiffs' complaint, Dynamic

  denies said allegations.

         9.      As to the allegations contained in paragraph 9 of plaintiffs' complaint, Dynamic

  denies said allegations except Dynamic admits that subject matter jurisdiction is proper in this Court,

  that the United States is a party to the Montreal Convention and the Warsaw Convention and that

  plaintiffs' claims are governed by either the Montreal Convention or the Warsaw Convention.

         10.      The statement contained in paragraph 10 of plaintiffs' complaint is not directed to

  Dynamic and requires no response. To the extent that a response is required, Dynamic is without

  knowledge or information sufficient to form a belief as to the truth of the allegations contained

  therein and, on this basis, denies said allegations.

         11.     As to the allegations contained in paragraph 11 of plaintiffs' complaint, Dynamic

  denies said allegations.

                 AS TO THE ALLEGATIONS CONCERNING THE PARTIES

         13.     [sic] As to the allegations contained in paragraph 13 [sic] of plaintiffs' complaint,

  Dynamic is without knowledge or information sufficient to form a belief as to the truth of the

  allegations contained therein and, on this basis, denies said allegations.

         14.     As to the allegations contained in paragraph 14 of plaintiffs' complaint, Dynamic is

  without knowledge or information sufficient to form a belief as to the truth of the allegations

  contained therein and, on this basis, denies said allegations.




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         15.     As to the allegations contained in paragraph 15 of plaintiffs' complaint, Dynamic

  denies said allegations, except that Dynamic admits that it is a foreign limited liability company and

  has its principal place of business in North Carolina.

         16.     As to the allegations contained in paragraph 16 of plaintiffs' complaint, Dynamic

  denies said allegations, except that Dynamic admits that Moris & Associates is Dynamic's registered

  agent in the State of Florida.

         17.     The statement contained in paragraph 17 of plaintiffs' complaint is not directed to

  Dynamic and requires no response. To the extent that a response is required, Dynamic is without

  knowledge or information sufficient to form a belief as to the truth of the allegations contained

  therein and, on this basis, denies said allegations.

         18.     The statement contained in paragraph 18 of plaintiffs' complaint is not directed to

  Dynamic and requires no response. To the extent that a response is required, Dynamic is without

  knowledge or information sufficient to form a belief as to the truth of the allegations contained

  therein and, on this basis, denies said allegations.

         19.     The statement contained in paragraph 19 of plaintiffs' complaint is not directed to

  Dynamic and requires no response. To the extent that a response is required, Dynamic is without

  knowledge or information sufficient to form a belief as to the truth of the allegations contained

  therein and, on this basis, denies said allegations.

         20.     The statement contained in paragraph 20 of plaintiffs' complaint is not directed to

  Dynamic and requires no response. To the extent that a response is required, Dynamic denies said

  allegations, except that Dynamic admits that Kalitta Air, LLC, d/b/a Kalitta Maintenance ("Kalitta")

  performed maintenance on the subject aircraft, a Boeing 767-200 ER aircraft bearing FAA

  registration number N251MY, prior to October 29, 2015.




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                             AS TO THE GENERAL ALLEGATIONS

          21.    As to the allegations contained in paragraph 21 of plaintiffs' complaint, Dynamic

  denies said allegations, except that Dynamic admits that, on the date of the alleged incident, it was

  an air carrier engaged in the carriage of passengers and that the aircraft performing Flight No. 405

  was being leased and operated by Dynamic.

          22.    As to the allegations contained in paragraph 22 of plaintiffs' complaint, Dynamic

  denies said allegations, except that Dynamic admits that it leased and operated Flight No. 405, which

  was scheduled to depart from Fort Lauderdale, Florida to Caracas, Venezuela on or about October

  29, 2015.

          23.    As to the allegations contained in paragraph 23 of plaintiff's complaint, Dynamic

  denies said allegations, except that Dynamic admits that it operated Flight No. 405, the aircraft for

  which was a Boeing 767-200 ER aircraft bearing FAA registration number N251MY, which was

  scheduled to depart from Fort Lauderdale, Florida to Caracas, Venezuela on or about October 29,

  2015.

          24.    As to the allegations contained in paragraph 24 of plaintiff's complaint, Dynamic

  denies said allegations.

                                           AS TO COUNT I

          25.    As to the allegations contained in paragraph 25 of plaintiffs' complaint, Dynamic re-

  alleges paragraphs 1-24 as if fully set forth herein.

          26.    The statement contained in paragraph 26 of plaintiffs' complaint is not directed to

  Dynamic and requires no response. To the extent that a response is required, Dynamic is without

  knowledge or information sufficient to form a belief as to the truth of the allegations contained

  therein and, on this basis, denies said allegations.




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         27.     As to the allegations contained in paragraph 27 of plaintiffs' complaint, Dynamic is

  without knowledge or information sufficient to form a belief as to the truth of the allegations

  contained therein and, on this basis, denies said allegations.

         28.     As to the allegations contained in paragraph 28 of plaintiffs' complaint, Dynamic

  denies said allegations.

         29.     As to the allegations contained in paragraph 29 of plaintiffs' complaint, Dynamic

  denies said allegations.

         30.     As to the allegations contained in paragraph 30 of plaintiffs' complaint, Dynamic

  denies said allegations, except that Dynamic admits that the United States ratified the Montreal

  Convention prior to October 29, 2015.

         31.     As to the allegations contained in paragraph 31 of plaintiffs' complaint, Dynamic

  denies said allegations, except that Dynamic admits that the United States is a State Party to the

  Montreal Convention and some plaintiffs' claims may be governed by the Montreal Convention.

         32.     As to the allegations contained in paragraph 32 of plaintiffs' complaint, Dynamic

  denies said allegations, except that Dynamic admits that Article 17 of the Montreal Convention

  provides that a "carrier is liable for damage sustained in case of death or bodily injury of a passenger

  upon condition only that the accident which caused the death or injury took place on board the

  aircraft or in the course of any of the operations of embarking or disembarking."

         33.     As to the allegations contained in paragraph 33 of plaintiffs' complaint, Dynamic

  denies said allegations.

         34.     As to the allegations contained in paragraph 34 of plaintiffs' complaint, Dynamic

  denies said allegations.




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         35.     As to the allegations contained in paragraph 35 of plaintiffs' complaint, Dynamic

  denies said allegations.

         36.     As to the allegations contained in paragraph 36 of plaintiffs' complaint, Dynamic

  denies said allegations.

                                           AS TO COUNT II

         37.     As to the allegations contained in paragraph 37 of plaintiffs' complaint, Dynamic re-

  alleges paragraphs 1-24 as if fully set forth herein.

         38.     The statement contained in paragraph 38 of plaintiffs' complaint is not directed to

  Dynamic and requires no response. To the extent that a response is required, Dynamic is without

  knowledge or information sufficient to form a belief as to the truth of the allegations contained

  therein and, on this basis, denies said allegations.

         39.     As to the allegations contained in paragraph 39 of plaintiffs' complaint, Dynamic is

  without knowledge or information sufficient to form a belief as to the truth of the allegations

  contained therein and, on this basis, denies said allegations.

         40.     As to the allegations contained in paragraph 40 of plaintiffs' complaint, Dynamic

  denies said allegations.

         41.     As to the allegations contained in paragraph 41 of plaintiffs' complaint, Dynamic

  denies said allegations.

         42.     As to the allegations contained in paragraph 42 of plaintiffs' complaint, Dynamic

  denies said allegations, except that Dynamic admits that the United States ratified the Warsaw

  Convention prior to October 29, 2015.




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          43.     As to the allegations contained in paragraph 43 of plaintiffs' complaint, Dynamic

   denies said allegations, except that Dynamic admits that the Bolivarian Republic of Venezuela

   ratified the Warsaw Convention prior to October 29, 2015.

          44.     As to the allegations contained in paragraph 44 of plaintiffs' complaint, Dynamic

   denies said allegations, except that Dynamic admits that the United States and Venezuela are State

   Parties to the Warsaw Convention and that some plaintiffs' claims may be governed by the Warsaw

   Convention.

          45.     As to the allegations contained in paragraph 45 of plaintiffs' complaint, Dynamic

   denies said allegations, except that Dynamic admits that Article 17 of the Warsaw Convention

   provides that a "carrier is liable for damage sustained in the event of the death or wounding of a

   passenger or any other bodily injury suffered by a passenger, if the accident which caused the

   damage so sustained took place on board the aircraft or in the course of any of the operations of

   embarking or disembarking."

          46.     As to the allegations contained in paragraph 46 of plaintiffs' complaint, Dynamic

   denies said allegations.

          47.     As to the allegations contained in paragraph 47 of plaintiffs' complaint, Dynamic

   denies said allegations.

          48.     As to the allegations contained in paragraph 48 of plaintiffs' complaint, Dynamic

   denies said allegations.

          49.     As to the allegations contained in paragraph 49 of plaintiffs' complaint, Dynamic

   denies said allegations.

          50.     As to the allegations contained in paragraph 50 of plaintiffs' complaint, Dynamic

   denies said allegations.




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                                           AS TO COUNT III

          51.     As to the allegations contained in paragraph 51 of plaintiffs' complaint, Dynamic re-

   alleges paragraphs 1-24 as if fully set forth herein.

          52.     The statement in paragraph 52 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations, except that Dynamic admits that Kalitta performed maintenance on the subject aircraft, a

   Boeing 767-200 ER aircraft bearing FAA registration number N251MY, prior to October 29, 2015.

          53.     The statement in paragraph 53 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations, except that Dynamic admits that Kalitta performed maintenance on the subject aircraft, a

   Boeing 767-200 ER aircraft bearing FAA registration number N251MY, prior to October 29, 2015.

          54.     The statement in paragraph 54 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations, except that Dynamic admits that Kalitta performed maintenance on the subject aircraft, a

   Boeing 767-200 ER aircraft bearing FAA registration number N251MY, prior to October 29, 2015.

          55.     The statement in paragraph 55 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations, except that Dynamic admits that Kalitta performed maintenance on the subject aircraft, a

   Boeing 767-200 ER aircraft bearing FAA registration number N251MY, prior to October 29, 2015.




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          56.     The statement in paragraph 56 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations, except that Dynamic admits that Kalitta performed maintenance on the subject aircraft, a

   Boeing 767-200 ER aircraft bearing FAA registration number N251MY, prior to October 29, 2015.

          57.     The statement in paragraph 57 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations.

          58.     The statement in paragraph 58 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations, except that Dynamic admits that Kalitta performed maintenance on the subject aircraft, a

   Boeing 767-200 ER aircraft bearing FAA registration number N251MY, prior to October 29, 2015.

          59.     The statement in paragraph 59 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations.

          60.     The statement in paragraph 60 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations.




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           61.    The statement in paragraph 61 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations.

           62.    The statement in paragraph 62 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations.

           63.    The statement in paragraph 63 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations.

           64.    The statement in paragraph 64 is not directed to Dynamic and requires no response.

   To the extent that a response is required, Dynamic is without knowledge or information sufficient to

   form a belief as to the truth of the allegations contained therein and, on this basis, denies said

   allegations.

                                     AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

           65.    Plaintiffs' complaint is barred because it fails to state a claim against Dynamic upon

   which relief can be granted.

                              SECOND AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

           66.    Plaintiffs' complaint is barred because plaintiffs lack standing and/or capacity to bring

   this action.


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                               THIRD AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

          67.     Plaintiffs' complaint is barred by plaintiffs' failure to take steps to mitigate their

   damages, if any.

                              FOURTH AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

          68.     Any injuries, damages or loss sustained by plaintiffs, if such occurred, were

   proximately caused and/or contributed to by their own fault or negligence in that they did not

   exercise ordinary care on their own behalf and acted recklessly or carelessly at the time and place set

   forth in the complaint. Accordingly, plaintiffs' recovery, if any, should be denied or reduced by the

   amount of fault or negligence attributable to their conduct.

                               FIFTH AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

          69.     Plaintiffs' complaint should be dismissed, or in the alternative, stayed, due to the

   doctrine of forum non conveniens.

                               SIXTH AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

          70.     The liability of Dynamic, if any, with respect to plaintiffs' alleged damages is limited

   or excluded in accordance with Dynamic's conditions of carriage, conditions of contract and/or the

   provisions of its passenger rules and fares tariff.

                              SEVENTH AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

          71.     The incident alleged in the complaint, and the damage that plaintiffs allege they

   suffered as a result thereof, were due to the negligence or other wrongful acts or omissions of

   persons or entities other than Dynamic. However, in the event that a finding is made that negligence

   exists on the part of Dynamic, which proximately contributed to plaintiffs' damages alleged in the



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   complaint, Dynamic's liability, if any, should be reduced by an amount proportionate to the amount

   by which the comparative fault or negligence of such other persons or entities contributed to the

   happening of the alleged incident and damages upon which plaintiffs seek recovery.

                              EIGHTH AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

           72.    Plaintiffs' damages, if any, are due to the acts or omissions of persons or entities other

   than Dynamic. However, in the event a finding is made that liability exists on the part of Dynamic,

   Dynamic is entitled to an allocation of liability and damages, indemnity and/or contribution from

   such persons or entities in direct proportion to their respective fault.

                               NINTH AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

           73.    The injuries, damages and losses allegedly suffered by plaintiffs were caused by

   intervening and superseding causes, and not caused by Dynamic.

                               TENTH AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

           74.    Plaintiffs' damages, if any, were caused in whole or in part by the acts or omissions of

   plaintiffs.

                             ELEVENTH AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

           75.    Whatever injury, damage or loss that may have been sustained by plaintiffs was not

   proximately caused by any act or omission on the part of Dynamic.

                             TWELFTH AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

           76.    The rights and liabilities of the parties in this action are exclusively governed by a

   treaty of the United States known as the Convention for Unification of Certain Rules Relating to

   International Transportation by Air, October 12, 1929, 49 Stat. 3000 (1934), T.S. No. 876, 137



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   L.N.T.S. 11, reprinted in 49 U.S.C. § 40105 (note) (1997) as amended by the Protocol done at the

   Hague on September 28, 1955, reprinted in S. Exec. Rep. No. 105-20, pp. 21-32 (1998), commonly

   referred to as the Warsaw Convention (hereinafter “Warsaw Convention”).

                           THIRTEENTH AFFIRMATIVE DEFENSE
                          TO EACH AND EVERY CAUSE OF ACTION

          77.     The liability of Dynamic, if any, is limited or excluded in accordance with the

   provisions of the Warsaw Convention, including, but not limited to:

                  a.     Article 17 of the Warsaw Convention, in that plaintiffs' alleged injuries are not

   "bodily injuries" caused by an "accident" within the meaning of Article 17 of the Warsaw

   Convention;

                  b.     Article 20(1) of the Warsaw Convention, in that Dynamic and its agents took

   all necessary measures to avoid the alleged incident or that it was impossible for Dynamic to take

   such measures;

                  c.     Article 21 of the Warsaw Convention, in that plaintiffs were negligent in

   causing or contributing to the damages they allegedly sustained; and

                  d.     Article 22 of the Warsaw Convention, in that Dynamic is not liable to

   plaintiffs to the extent plaintiffs' alleged damages exceed the amount of 16,600 Special Drawing

   Rights ("SDRs").

                           FOURTEENTH AFFIRMATIVE DEFENSE
                          TO EACH AND EVERY CAUSE OF ACTION

          78.     The rights and liabilities of the parties in this action are exclusively governed by a

   treaty of the United States known as the Convention for the Unification of Certain Rules for

   International Carriage by Air, done at Montreal on 28 May 1999, ICAO Doc. No. 9740 (entered into

   force November 4, 2003), reprinted in S. Treaty Doc. 106-45, 1999 WL 33292734 (hereinafter "the

   Montreal Convention”).


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                             FIFTEENTH AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

          79.     The liability of Dynamic, if any, is limited or excluded in accordance with the

   provisions of the Montreal Convention, including, but not limited to:

                  a.      Article 17 of the Montreal Convention, in that plaintiffs' alleged injuries are

   not "bodily injuries" caused by an "accident" within the meaning of Article 17 of the Montreal

   Convention;

                  b.      Article 20 of the Montreal Convention, in that plaintiffs' alleged injuries were

   caused or contributed to by the negligence or other wrongful act or omission of plaintiffs; and

                  c.      Article 21 of the Montreal Convention, in that to the extent plaintiffs' alleged

   damages exceed the amount of 113,100 SDRs, Dynamic is not liable to plaintiff because such

   damage was not due to the negligence or other wrongful act or omission of Dynamic or its servants

   or agents, or such damage was caused or contributed to by the negligence or other wrongful act or

   omission of a third party.

                             SIXTEENTH AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

          80.     If plaintiffs are entitled to recover damages, which is denied, the amount of any

   damages should be reduced in whole or in part by the amounts received from any collateral source.

                           SEVENTEENTH AFFIRMATIVE DEFENSE
                           TO EACH AND EVERY CAUSE OF ACTION

          81.     Plaintiffs' action is barred because plaintiffs failed to exercise reasonable and ordinary

   care to avoid an obvious danger to the extent such a danger existed.




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                                        RULE 44.1 NOTICE

          82.    Pursuant to Federal Rule of Civil Procedure 44.1, Dynamic hereby gives notice that it

   intends to raise issues concerning the law of a foreign country in this matter, including any

   applicable limitation of damages which may be contained therein.

          WHEREFORE, Dynamic prays for judgment as follows:

          1.     That plaintiffs take nothing by reason of their complaint and for judgment in favor of

   Dynamic;

          2.     That Dynamic be awarded costs of suit incurred herein; and

          3.     For such other and further relief as the Court deems necessary, just and proper.

   Date: June 7, 2018
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                                                    Attorneys for Defendant
                                                    Dynamic International Airways, LLC




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                                 CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a true and correct copy of the foregoing has been served by

   electronic mail this 7th day of June, 2018, upon STEVEN C. MARKS, ESQ., Podhurst, Orseck,

   P.A.., SunTrust International Center, Suite 2700, One S.E. Third Avenue, Miami, Florida 33131

   (pleadings-smarks@podhurst.com; laja@podhurst.com; asanjenis@podhurst.com).

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